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e* gw WN RESON SPILL by “Deepwater Horizon”
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eich rigid by Order of the Court, Civil Action No, 10 md 2178 Rec. Doc. 982
(Copies of said Order having aleo been filed In Civil Actions No. 10-8688 and 10-2771)

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By submitting thia document, | am asserting a claim in Complaint end Potiton of Triton Asset Lessing GmbH, et
ai., No. 10-2771; adopt and Incorporate the Master Answer [Rec. Doc, 244] to the Complaint and Patition of Triton
Asset Leasing Gmbh, et ai. in No, 10-2771; sndior intervene Into, join and otherwise adopt the Master Complaint
[Rev. Doc, 879} for private economic losses ("Bt Bundle”) fited in MOL No. 2178 (10 md 2179): and/or Intervens
into, join and otharwise adopt the Master Complaint (Rec, Doc. 881) for post-explosion Injuries ("BS Bundles”)
filed in MDL No, 2179 (10 md 2975).

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Claim filed with BP? ves O NO [1] Claim Fled wih accr?: YES [] NO O)

tryes, AF Cialm No.: if yes, Claknant identification No.:

Type (Please check. all that apply}:

Damage or destruction to real of parsonal proparty Paar of Future Injury and/or Medical Monitoring
Gamings/Profit Los Lods of Substatence use of Natural Resources
Pargonat Injury/Death Removal and/or clean-up Costs

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7 This form should be fied with the U.S, District Court for the Eastern District of Louliana in New Orleans, Louisiane in Civil action No, 10-6888. Whil@ this Direct
Filing Short Farm {x to be filed In CA No, 10-8988, by prior order of tha Court, (Ree. Doe, 245, Ca. No, 20-2771 and Rec. Doc, 982 in MDL 2279), the filing of this form
ia CA, No. 10-BSB8 shall be deemed to be simultaneously filed In GA, 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being notified electronically by the Gerk
of Court of the filing of this Short Fore, shall prompty sarva this form through tha erie Nexis service system on Defense Lalsan.

The fiting of this Direct Fiting Bhort Form efall aloa serve in ileu of tha requiremant of @ PlaintiT to fite a Ptaintif Profile Fon.

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. Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3
‘Brief Description:
1, or eamings/profit oss, proparty damage and loos of subsietence use claims, describe the nature of the injury. For claims

involving real estate/property, Include the property location, type of property tresidenilalfcommercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing graunda at issue.

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2, For personal injury claims, describe the injury. how and when it was sustai and identify all health care providers a
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Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3

Please check the box(es} below that you think apply to you and your claims:
Non-governmental Economic Logs.and Property Dan” u

Commercial fisherman, shrimper, crabber, or oystermen, or the owner and oparator of » business Invelving fishing, shrimping,
crabbing or oystering,

Seafood processor, distributor, retail and seafood martes, or ramtaurant owner and operator, or an employee ihereot.

Recreational businace owner, oporator or worker, Including a recreational fishing businesa, commercial guide service, or charter
fishing buainacs who eam their living through the upe of Ihe Gull of Mexico.

Commercial business, bualnags owner, operator or worker, Including commercial divers, offshore olifiakl sardcs, fepair and
supply, real astate agents, and supply companias, or an employee thareol.

Redreational apori fishermen, recreational diver, beachgosr, or recreational boater.
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Owner, leseor, or lessee of real property slleged fo ba damaged, harmed or Impacted, physically or economicalty, incuding
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Hotel owner end operator, vacation rental owner and agent, or al those who eam thelr living from the tourlem industry.
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Post-Explosion Personal Iniury, Medical Monitoring, and Prope Damane Related to Cleanup (Bungdis BS

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Boat ceptaln or craw involved in the Vessels of Opportunity program.
Worker involved in decontarninating vessels (hat Cama into contact with off and/or chemical dlapereante.

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2. Vessol captain of crew who waa not Invoived In tha Vessels of Oppartunty program but who ware exposed to harmful chamicals,
odors and emissions during post-explosion Cleam-up activities.

KW Clean-up worker or boach personnel Involved in dearrup activities along shoretines and Intercoastal and intertidal zones.
he’s. Resident whe livec or works In close proximity to constel waters.

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Both BP and the Gulf Coast Clalms Facility ((GCCF") are hereby authorized to release to the Defendanta In MOL
2179 all information and documents submitted by ebove-named Plaintiff and Information regarding the status of any
payment on the clalm, subject ta such information being trea.ad as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Yria} Order No. 11), and subject to full coples of same being made available to both
the Plaintifor his attorney if applicabia) filing this form and PSC through Plaintiff Liaison Counsel,

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